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MALIBU MEDIA, LLC,
                                                                     Case No. 1: 19-cv-07189-JGK
                                        Plaintiff,

                              VS.


JOHN DOE subscriber assigned IP address
98.116.191.111,

                                        Defendant.
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     ORDER ON PLAINTIFF'S THIRD MOTION TO ADJOURN INITIAL PRETRIAL
     CONFERENCE AND EXTEND THE DEADLINE TO FILE A JOINT DISCOVERY/
                        CASE MANAGEMENT PLAN

           THIS CAUSE came before the Court upon Plaintiffs Third Motion to Extend the Deadline

 to File a Joint Discovery/Case Management Plan and to Adjourn Initial Pretrial Conference (the

 "Motion"), and the Court being duly advised in the premises does hereby:

           ORDERED and ADJUDGED: Plaintiffs Motion is GRANTED. The Initial Pretrial

 Scheduling Conference on the above matter is now set for            f v f SO If 1   /"'\.AIL t   H tl 't p O;, ()
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           DONE AND ORDERED this//,, day of                      ~a ,            2020.
